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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )
                                         )
                  Plaintiff,             )                 4:08CR3019-1
                                         )
           V.                            )
                                         )
CHRISTOPHER G. DIGIORGIO,                )                    ORDER
                                         )
                  Defendant.             )


     IT IS ORDERED that the plaintiff’s motion for dismissal (filing 65) is granted.

     September 18, 2008.               BY THE COURT:

                                       S/Richard G. Kopf
                                       United States District Judge
